    Case 20-42492       Doc 743       Filed 11/29/21 Entered 11/29/21 20:50:22                   Desc Main
                                      Document      Page 1 of 15




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

     In re:                      §                           Chapter 11
                                 §
     SPHERATURE INVESTMENTS LLC, §                           Case No.: 20-42492
     et al.                      §
                                 §
              Debtors. 1         §                           Jointly Administered

           SUMMARY OF FIRST AND FINAL FEE APPLICATION OF
        LARX ADVISORS INC. FOR COMPENSATION FOR SERVICES AND
    REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
          FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD
               OF DECEMBER 21, 2020 TO NOVEMBER 12, 2021

        YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS
        PLEADING. YOU SHOULD READ THIS PLEADING CAREFULLY AND
        DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS
        BANKRUPTCY CASE. IF YOU OPPOSE THE RELIEF SOUGHT BY THIS
        PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING
        THE FACTUAL AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

        NO    HEARING     WILL    BE     CONDUCTED     ON    THIS
        MOTION/OBJECTION/APPLICATION      UNLESS    A    WRITTEN
        OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES
        BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS
        PLEADING WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF
        SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS THE
        COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH
        OBJECTION. IF NO OBJECTION IS TIMELY SERVED AND FILED,
        THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE
        COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT.
        IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER,
        THE COURT WILL THEREAFTER SET A HEARING WITH
        APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING,



1
  The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
Investments LLC EIN#5471; Rovia, LLC EIN#7705; WorldVentures Marketing Holdings, LLC EIN#3846;
WorldVentures Marketplace, LLC EIN#6264; WorldVentures Marketing, LLC EIN#3255; WorldVentures Services,
LLC EIN#2220.
FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 1
 Case 20-42492    Doc 743     Filed 11/29/21 Entered 11/29/21 20:50:22      Desc Main
                              Document      Page 2 of 15



     YOUR OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE
     RIGHT TO SET A HEARING ON ANY MATTER.


Name of Applicant:                                    Larx Advisors Inc.
Authorized to provide professional
                                              Debtors and Debtors-in-Possession
services to:
Effective Date of Retention:                          December 21, 2021
Compensation Period:                     December 21, 2020 through November 12, 2021
Time Period covered by any prior
                                                            N/A
Applications:
Total amount awarded in all prior
                                                            None
applications:

Total fees requested in the First and
                                                        $1,498,245.00
Final Application Period:
Total actual professional hours
covered by the First and Final                             2,964.0
Application:
Average hourly rate for professionals
                                                           $505.48
for the First Application Period:
Reimbursable expenses sought in the
                                                          $5,454.89
First and Final Application Period:

Total to be paid to Priority Unsecured
                                                          Unknown
Creditors:
Anticipated % Dividend to Priority
                                                          Unknown
Unsecured Creditors:
Total to be paid to General
                                                          Unknown
Unsecured Creditors:
Anticipated % Dividend to Unsecured
                                                          Unknown
Creditors:
Dates of confirmation hearings:                      10/29/21 – 11/12/21
Indicate whether the plan has been
                                                       Plan Confirmed
confirmed:




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 2
 Case 20-42492   Doc 743   Filed 11/29/21 Entered 11/29/21 20:50:22   Desc Main
                           Document      Page 3 of 15



DATED: November 29, 2021            Respectfully submitted:


                                    /s/ Erik Toth
                                    Erik Toth
                                    CEO & Managing Partner
                                    Larx Advisors Inc.
                                    2600 Network Boulevard,
                                    Suite 600
                                    Frisco, Texas 75304
                                    Telephone: (972) 294-5884
                                    erik@larxadvisors.com

                                    CHIEF RESTRUCTURING OFFICER
                                    AND FINANCIAL ADVISOR
                                    FOR THE DEBTORS
                                    AND DEBTORS-IN-POSSESSION




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
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FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 3
    Case 20-42492       Doc 743       Filed 11/29/21 Entered 11/29/21 20:50:22                   Desc Main
                                      Document      Page 4 of 15




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

     In re:                      §                           Chapter 11
                                 §
     SPHERATURE INVESTMENTS LLC, §                           Case No.: 20-42492
     et al.                      §
                                 §
              Debtors. 2         §                           Jointly Administered

                    FIRST FINAL FEE APPLICATION OF
           LARX ADVISORS INC. FOR COMPENSATION FOR SERVICES
    AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER
         AND FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD
                OF DECEMBER 21, 2020 TO NOVEMBER 12, 2021

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        BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS
        PLEADING WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF
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        APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING,



2
  The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
Investments LLC EIN#5471; Rovia, LLC EIN#7705; WorldVentures Marketing Holdings, LLC EIN#3846;
WorldVentures Marketplace, LLC EIN#6264; WorldVentures Marketing, LLC EIN#3255; WorldVentures Services,
LLC EIN#2220.
FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 4
 Case 20-42492       Doc 743      Filed 11/29/21 Entered 11/29/21 20:50:22            Desc Main
                                  Document      Page 5 of 15



       YOUR OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE
       RIGHT TO SET A HEARING ON ANY MATTER.


       Larx Advisors Inc. (“Larx”), which was approved to provide Erik Toth as the Chief

Restructuring Officer (“CRO”) and financial advisory services to Spherature Investments LLC

(“Spherature”), together with its affiliates identified herein, as debtors and debtors-in-possession

(collectively, the “Debtors”), hereby submits its first and final fee application (the “Final

Application”) pursuant to (i) sections 330 and 331 of Title 11 of the United States Code, 11 U.S.C.

§§ 101-1532 (the “Bankruptcy Code”); (ii) Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”); (iii) Rule 2016-1 of the Local Rules of Bankruptcy

Procedure for the Eastern District of Texas (the “Local Rules”); (iv) the United States Trustee

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330 issued by the Executive Office for United States Trustees (the “Trustee

Guidelines”); (v) Exhibit H of the United States Bankruptcy Court for the Eastern District of Texas

Appendix 9007: Procedures for Complex Chapter 11 Cases in Texas Bankruptcy Courts -

“Guidelines for Compensation and Expense Reimbursement of Professionals in Complex Chapter

11 Cases (the “Exhibit H Guidelines”); (vi) the Order Granting Complex Chapter 11 Case

Treatment [Docket No. 50]; and (vii) the Amended Order Granting Motion for Administrative

Order Under Bankruptcy Code Sections 105(A) and 331 Establishing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals [Docket No. 153] (the “Interim

Compensation Order”). On March 1, 2021, the Honorable Brenda T. Rhoades, Bankruptcy

Judge for the United States Bankruptcy Court for the Eastern District of Texas (the “Court”)

entered an Amended Order Granting Motion for Administrative Order Under Bankruptcy Code

FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 5
 Case 20-42492       Doc 743       Filed 11/29/21 Entered 11/29/21 20:50:22          Desc Main
                                   Document      Page 6 of 15



Sections 105(a) and 331 Establishing Procedures for Interim Compensation and Reimbursement

of Expenses of Professionals (the “Interim Compensation Order”) [Docket No. 153].

       Larx submits this Final Application for allowance of compensation for services rendered

in the aggregate amount of $1,498,245.00 and for reimbursement of actual and necessary expenses

incurred by Larx in the amount of $5,454.89 for the period of December 21, 2020 through

November 12, 2021 (the “Compensation Period”). In support of this Final Application, Larx

respectfully submits as follows:

                                         JURISDICTION

       1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b), and the Court may enter a final

order consistent with Article III of the United States Constitution.

       2.      Venue is proper in this District pursuant to 28 U.S. C. §§ 1408 and 1509.

       3.      The statutory bases for the relief requested herein are sections 330 and 331 of the

Bankruptcy Code, Bankruptcy Rules 2016, and Local Rule 2016-1.

                                     CASE BACKGROUND

       4.      On December 21, 2020 (the “Petition Date”), each of the Debtors commenced a

voluntary case under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the Eastern District of Texas (the “Court”), thereby initiating the above-captioned cases (the

“Chapter 11 Cases”). The Debtors are authorized to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No examiner has been appointed in these Chapter 11 Cases.




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 6
 Case 20-42492       Doc 743     Filed 11/29/21 Entered 11/29/21 20:50:22            Desc Main
                                 Document      Page 7 of 15



       5.     Contemporaneously with the filing of their first-day motions, the Debtors filed

declaration testimony by Erik Toth (the “Toth Declaration”), which contains additional

background information on the Debtors and their operations. The content of the Toth Declaration

are incorporated by reference, as if set forth herein verbatim, pursuant to Federal Rule of Civil

Procedure 10(c).

       6.     On December 30, 2020, the Court entered an Order directing the joint

administration of the Debtors’ related Chapter 11 Cases [Docket No. 45], and also entered an

Order Granting Complex Chapter 11 Case Treatment [Docket No. 50].

       7.     On January 22, 2021, the Office of the United States Trustee for the Eastern District

of Texas (the “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the

“Committee”) pursuant to section 1103 of the Bankruptcy Code. [Docket No. 93, 116].

       8.     On February 25, 2021, the Court approved the retention of Larx Advisors Inc. to

provide a chief restructuring officer and designated Erik Toth as CRO as of the Petition Date

[Docket No. 148].

       9.     On July 19, 2021, the Debtors filed the Joint Chapter 11 Plan for Spherature

Investments LLC and Its Debtor Affiliates (as supplemented, amended, and revised, the “Plan”)

[Docket No. 371].

       10.    On November 12, 2021, the Court entered the Order Approving Disclosure

Statement and Confirming Final Amended Joint Plan for Spherature Investments LLC and its

Debtor Affiliates [Docket No. 708] (the “Confirmation Order”).




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
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FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 7
 Case 20-42492            Doc 743     Filed 11/29/21 Entered 11/29/21 20:50:22            Desc Main
                                      Document      Page 8 of 15



                                          RELIEF REQUESTED

        11.         By this Final Application, Larx seeks (i) allowance and award of compensation for

professional services rendered by Larx as CRO and financial advisor to the Debtors during the

Compensation Period in the amount of $1,498,245.00 , representing 2,964.0 hours of professional

services; and (ii) reimbursement of actual and necessary expenses in the amount of $5,454.89

incurred by Larx during the Compensation Period in connection with its rendering professional

services.

        12.         Pursuant to the Interim Compensation Order, during these Chapter 11 Cases, Larx

has served monthly fee statements for the months of December – November. The Debtors have

remitted payment to Larx for those fees and expenses incurred for the months of December –

March and partial payment for the month of April. As of the date of this Application, Larx has not

received any objections to any monthly fee statements. A summary of Larx’s monthly fee

statements during the Final Application Period is set forth as follows:


                                                         Expenses       Expenses         Balance
       Period            Fees Incurred     Fees Paid     Incurred         Paid      (Fees & Expenses)
 12/21/20 – 1/31/21        $177,065.00     $141,652.00       $440.86     $440.86             $35,413.00
 2/1/21 – 2/28/21          $142,845.00     $114,276.00       $333.33     $333.33            $28,569.00
 3/1/21 – 3/31/21          $137,825.00     $110,260.00       $333.33     $333.33            $27,565.00
 4/1/21 – 4/30/21          $117,495.00       28,547.25       $333.33                        $89,281.08
 5/1/21 – 5/31/21          $107,990.00                       $333.33                       $108,323.33
 6/1/21 – 6/30/21          $162,915.00                       $333.33                       $163,248.33
 7/1/21 – 7/31/21          $127,400.00                       $468.35                       $127,868.35
 8/1/21 – 8/31/21          $173,355.00                       $374.80                       $173,729.80
 9/1/21 – 9/30/21          $156,420.00                      $1,133.33                      $157,553.33
 10/1/21 – 10/31/21        $146,785.00                      $1,287.57                      $148,072.57
 11/1/21 – 11/5/21           $48,150.00                       $83.33                        $48,233.33
 Balance Owing:           $1,498,245.00    $394,735.25      $5,454.89   $1,107.52         $1,107,857.12



FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 8
 Case 20-42492       Doc 743     Filed 11/29/21 Entered 11/29/21 20:50:22          Desc Main
                                 Document      Page 9 of 15



        13.   Larx has received no payment and no promises of payment from any source for

services rendered or to be rendered in any capacity whatsoever in connection with the matters

covered by this Final Application for the Compensation Period. There is no agreement or

understanding between Larx and any persons unaffiliated with Larx for the sharing of

compensation to be received for services rendered in these Chapter 11 Cases.

        14.   In connection with this engagement by the Debtors, Larx received a $110,000.00

retainer.

        15.   Attached hereto as Exhibit A is a summary breakdown of hours and amounts billed

by timekeeper. The summary lists those professionals who have performed services for the

Debtors during the Compensation Period, the capacities in which each individual is employed by

Larx, the hourly billing rate charged by Larx for services performed by such individual, and the

aggregate number of hours expended in this matter and fees billed therefor.

                          SUMMARY OF SERVICES PROVIDED

        16.   This Final Application provides a brief summary of the services rendered by Larx

on behalf of the Debtors during the Compensation Period by category. While it is not possible or

practical to describe each and every activity undertaken by Larx, Larx has maintained

contemporaneous time records, which include a detailed chronology of the daily services rendered

describing the precise nature of the work, the specific tasks performed and the time expended by

each professional. Copies of the time records underlying the monthly fee statements and the fees

and expenses incurred by Larx are attached hereto as Exhibit C.




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                     PAGE 9
 Case 20-42492         Doc 743      Filed 11/29/21 Entered 11/29/21 20:50:22           Desc Main
                                    Document      Page 10 of 15



       17.       Further, Exhibit C to this Final Application sets forth (i) the number of hours

expended by each Larx professional, (ii) the number of hours expended in each project category,

and (iii) the expenses associated with the Final Application.

       18.       To the best of Larx’s knowledge, the Final Application complies with sections 330

and 331 of the Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-1.

       19.       The services performed by Larx are briefly summarized in the following categories

of services:

       (a)       363 Process

                 Fees: $14,765.00; Total Hours 45.3

       20.       This category includes time expended reviewing the sale process, reviewing

valuation models for potential bidders; reviewing data room documents and reviewing/updating

files and information requests lists from potential bidders; preparing and updating outstanding

commissions schedule; and attending meetings to compare purchase offers. This category also

includes time spent reviewing the asset purchase agreement and letter of intent comparison

analysis for accuracy and assumptions.

       (b)       Administration

       Fees: $7,920.00; Total Hours 22.6

               21.             This category includes time spent reviewing time detail in preparation

    for fee applications.

       (c)       Bankruptcy Support

                 Fees: $13,290.00; Total Hours 37.4




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                    PAGE 10
 Case 20-42492       Doc 743       Filed 11/29/21 Entered 11/29/21 20:50:22        Desc Main
                                   Document      Page 11 of 15



           22.             This category includes time reviewing and updating damages model,

   chargeback analysis, and commissions and rewards payable versus chargebacks.

     (d)        CRO Services

                Fees: $1,113,8440.00; Total Effective Hours: 1,872

           23.             CRO Services are covered under the fixed weekly fee arrangement

   within the Larx engagement letter. The services included in this line item may include, but

   are not limited to: 363 Process, Accounting & Finance, Board Meetings, Budget Model, Cash

   Management, Claims Management, Court Hearings, Damages Model, Document Review,

   Email Exchanges, Fee Applications, Litigation Support, Meetings and Phone Calls, Financial

   Modeling, Monthly Operating Reports, Plan of Reorganization, Schedules and Statements,

   Time Management, and Official Committee of Unsecured Creditors.

     (e)        Cash Management

                Fees: $7,435.00; Total Hours 20.50

           24.             This category includes time reviewing and updating post-petition

   budget, reviewing commission schedules; and reviewing potential scenarios for DIP

   financing.

     (f)        Creditor Support

                Fees: $2,575.00; Total Hours 6.6

           25.             This category includes time spent on teleconferences with the

   Unsecured Creditors Committee (UCC) and Larx team to brief UCC financial advisors on

   status of case and current working group activities. These fees do not include the 3 times per

   week the CRO and UCC met throughout the case to maintain alignment.

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SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                    PAGE 11
 Case 20-42492     Doc 743      Filed 11/29/21 Entered 11/29/21 20:50:22         Desc Main
                                Document      Page 12 of 15



     (g)     First Day Motions

             Fees: $1,995.00; Total Hours 5.7

           26.           This category includes time expended reviewing and preparing data on

   first day motions and updating schedules for utilities motion.

     (h)     Marketing

             Fees: $77,165.00; Total Hours 140.3

           27.           This category includes time reviewing certain action plans and next

   steps. This category also includes time spent: regarding Facebook account investigations,

   market research and data analysis, interviewing social media contractors, preparing new

   communication to sales representatives; and preparing plan overview for marketing services.

     (i)     Monthly Operating Reports

             Fees: $13,670.00; Total Hours 38.6

           28.           This category includes staff time preparing, reviewing and updating

   monthly operating reports. These fees do not include the time incurred by the CRO.

     (j)     Plan of Reorganization

             Fees: $24,310.00; Total Hours 69.0

           29.           This category includes time spent reviewing plan of reorganization

   scenarios; preparing and analyzing documents related to contract cure amounts; preparing

   liquidation analysis; and preparing drafts of topping bid template.

     (k)     Schedules and Statements

             Fees: $61,700.00; Total Hours 186.0




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FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                    PAGE 12
 Case 20-42492       Doc 743      Filed 11/29/21 Entered 11/29/21 20:50:22             Desc Main
                                  Document      Page 13 of 15



             30.             This category includes time spent reviewing and updating employee

    matrix, creditor matrix, and tax matrix in preparation for preparing schedules and statements.

    This category also includes time spent reviewing capture templates and requirements for

    schedules and statements filings and drafting global notes to be included with schedules and

    statements. This category also includes time spent preparing amendments to schedules and

    statements.

                          ACTUAL AND NECESSARY EXPENSES

       31.     During the Compensation Period, Larx incurred $5,454.89 in out-of-pocket

expenses on behalf of the Debtors. Larx charges only its actual out-of-pocket expenses to the

client, and such out-of-pocket expenses are not marked up. Detailed descriptions of Larx’s

expenses are included in Exhibit B attached hereto.

       32.     While representing the Debtors in the Chapter 11 Cases, Larx charged the actual

costs of virtual data services and meal charges.

       33.     Larx believes that the foregoing rates for the services rendered align with the market

rates that the majority of financial advisory firms charge their clients for such services. The

expenses are reasonable and economical in view of the necessity of the services provided and are

of the type customarily charged to Larx’s non-bankruptcy clients.

       34.     Fee Application Preparation: In accordance with the Exhibit H Guidelines, Toth

states that he estimates that approximately 3.0 hours were spent on drafting this Final Application,

reviewing related documents, fee statements, and applicable rules and guidelines, and participating

in related communications.




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                    PAGE 13
 Case 20-42492         Doc 743     Filed 11/29/21 Entered 11/29/21 20:50:22           Desc Main
                                   Document      Page 14 of 15



          WHEREFORE, Larx respectfully requests that the Court:

                 (a) approve the allowance of $1,498,245.00 for compensation of professional

          services rendered to the Debtors during the period from December 21, 2020 through and

          including November 12, 2021;

                 (b) approve the reimbursement of Larx’s out-of-pocket expenses incurred in

          connection with rendering such services during the period from December 21, 2020

          through and including November 12, 2021, in the amount of $5,454,89; and

          (c) authorize and direct the Debtors to immediately pay to Larx a sum total of $997,857.12

which amount represents the unpaid fees and expenses Larx incurred during the Compensation

Period.


DATED: November 29, 2021                       Respectfully submitted:


                                               /s/ Erik Toth
                                               Erik Toth
                                               CEO & Managing Partner
                                               Larx Advisors Inc.
                                               2600 Network Boulevard,
                                               Suite 600
                                               Frisco, Texas 75304
                                               Telephone: (972) 294-5884
                                               erik@larxadvisors.com

                                               CHIEF RESTRUCTURING OFFICER
                                               AND FINANCIAL ADVISOR
                                               FOR THE DEBTORS
                                               AND DEBTORS-IN-POSSESSION




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                    PAGE 14
 Case 20-42492        Doc 743     Filed 11/29/21 Entered 11/29/21 20:50:22             Desc Main
                                  Document      Page 15 of 15



                              CERTIFICATE OF COMPLIANCE


         I certify that I have read the application, and to the best of my knowledge, information and
belief, formed after reasonable inquiry, the compensation and expense reimbursement sought is in
conformity with the Court’s Local Rules Appendix 9007, Exhibit H, Guidelines for Compensation
and Expense Reimbursement of Professionals in Complex Chapter 11 Cases.
I certify that the compensation and expense reimbursement requested are billed at rates, in
accordance with practices, no less favorable than those customarily employed by Larx and
generally accepted by its clients.

                                              /s/ Erik Toth
                                              Erik Toth




                                 CERTIFICATE OF SERVICE


        I hereby certify that on November 29 2021, a true and correct copy of the foregoing
document was served electronically, via email, on the following Notice Parties: Counsel for the
Official Committee of Unsecured Creditors, the Office of the United States Trustee for the Eastern
District of Texas, and Counsel for the Debtors’ secured lenders.

                                              /s/ Jack G. Haake
                                              Jack G. Haake




FIRST AND FINAL FEE APPLICATION OF LARX ADVISORS INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS CHIEF RESTRUCTURING OFFICER AND
FINANCIAL ADVISOR TO THE DEBTORS FOR THE PERIOD OF DECEMBER 21, 2020 TO
NOVEMBER 12, 2021
                                                                    PAGE 15
